  Case 2:23-cv-00450-MHT-KFP   Document 77   Filed 02/13/25   Page 1 of 2




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


YELLOWHAMMER FUND, on              )
behalf of itself and its           )
clients,                           )
                                   )
     Plaintiff,                    )
                                   )         CIVIL ACTION NO.
     v.                            )          2:23cv450-MHT
                                   )
ATTORNEY GENERAL OF                )
ALABAMA STEVE MARSHALL,            )
in his official capacity,          )
                                   )
     Defendant.                    )


WEST ALABAMA WOMEN’S               )
CENTER, on behalf of               )
themselves and their               )
staff; et al.,                     )
                                   )
     Plaintiffs,                   )
                                   )         CIVIL ACTION NO.
     v.                            )          2:23cv451-MHT
                                   )
STEVE MARSHALL, in his             )
official capacity as               )
Alabama Attorney General,          )
                                   )
     Defendant.                    )

                                ORDER

    It is ORDERED that oral argument on the pending

motions for summary judgment (Doc. 60, Doc. 61, and
  Case 2:23-cv-00450-MHT-KFP   Document 77   Filed 02/13/25   Page 2 of 2




Doc. 62) is set for February 25, 2025, at 10:00 a.m.,

by videoconference.       The courtroom deputy shall arrange

for the videoconference.

    DONE, this the 13th day of February, 2025.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE




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